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             IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF TEXAS
                       DALLAS DIVISION


RYAN, LLC,

                       Plaintiff,

CHAMBER OF COMMERCE OF       Case No. 3:24-cv-986-E
THE UNITED STATES OF
AMERICA, BUSINESS
ROUNDTABLE, TEXAS
ASSOCIATION OF BUSINESS, and
LONGVIEW CHAMBER OF
COMMERCE,

                       Plaintiff-
                       Intervenors,
v.

FEDERAL TRADE COMMISSION,

                       Defendant.


  PLAINTIFF AND PLAINTIFF-INTERVENORS’ EXPEDITED
MOTION FOR LIMITED RECONSIDERATION OF THE SCOPE OF
                PRELIMINARY RELIEF
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                                INTRODUCTION

      On July 3, this Court entered an order preliminarily enjoining the

Federal Trade Commission from enforcing the Noncompete Rule and staying

the Rule’s effective date pending the final disposition of this litigation. The

Court correctly held that plaintiffs are likely to succeed on the merits of their

challenges to the Rule. The Court then concluded that plaintiffs are entitled

to preliminary injunctive relief and a stay of the Rule’s effective date because

companies affected by the Rule would suffer “financial injury” if the Rule went

into effect. Moreover, the Court reasoned, “if the requested injunctive relief

were not granted, the injury to both Plaintiffs and the public interest would be

great,” and the Commission had not explained why it would be harmed by a

temporary delay in enforcing the Rule. See Order 27-28.

      In specifying the terms of that preliminary relief, however, the Court

limited the remedy to only the named plaintiffs in this case. The result of that

limitation is that virtually all businesses affected by the Noncompete Rule—

including plaintiff-intervenors’ members—must continue to incur substantial

costs preparing to comply with an unlawful regulation.             And without

preliminary relief, many of those businesses may feel compelled to intervene

in this suit to protect their interests.
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      Plaintiffs respectfully request that the Court reconsider its decision to

limit relief to the named plaintiffs. First, the Fifth Circuit has recognized that

an order preliminarily enjoining an unlawful regulation or staying its effective

date under the Administrative Procedure Act need not be “party-restricted.”

Career Colleges & Schs. of Texas v. United States Dep’t of Educ., 98 F.4th 220,

256 (5th Cir. 2024). Rather, the scope of preliminary relief “aligns with the

scope of ultimate relief under Section 706, which is not party-restricted and

allows a court to ‘set aside’ an unlawful agency action.” Id. Accordingly, the

Fifth Circuit and the Supreme Court have repeatedly stayed agency rules

without party limitation. See id. Given the Court’s recognition that the

Noncompete Rule likely violates the APA, those decisions should inform the

scope of the remedy here.

      Second, even if the Court does not consider the scope of relief under the

APA, plaintiff-intervenors are entitled to a remedy that protects their

members from the Commission’s unlawful regulation. The Supreme Court has

expressly held that, in suits brought by associations on behalf of their

members, any remedy granted should “inure to the benefit of those members

of the association actually injured.” Warth v. Seldin, 422 U.S. 490, 511, 515

(1975). As the Court recognized in its Order (at 31 n.14), plaintiff-intervenors’


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members—the very businesses targeted by the Rule’s nationwide ban on the

use of noncompete agreements—will suffer irreparable injury if the Rule is

not preliminarily enjoined. Order 25. That irreparable injury includes the

immediate costs of complying with the Commission’s unlawful regulation. And

while plaintiff-intervenors appreciate this Court’s diligence in setting a

schedule allowing for merits relief before the Rule’s effective date, their

members will be forced to incur substantial compliance costs before that date

if this Court’s preliminary order is not extended to afford them relief now.

      It is vitally important to resolve the scope of the remedy as soon as

possible. In granting preliminary injunctive relief, the Court noted the need

to “maintain[] the status quo” and “prevent[] the substantial economic impact

of the Rule” during the pendency of this litigation. Order 28. Plaintiffs

respectfully request that, in order to achieve those objectives, the Court revise

the scope of its preliminary injunction and stay.

                            LEGAL STANDARD

      Federal Rule of Civil Procedure 54(b) “provides that an order that

adjudicates fewer than all the claims among the parties ‘may be revised at any

time’ before the entry of a final judgment.” Brown v. Wichita Cty., 2011 WL

1562567, at *2 (N.D. Tex. Apr. 26, 2011) (quoting Fed. R. Civ. P. 54(b)). That


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rule applies to motions requesting reconsideration of an order granting

preliminary relief. See, e.g., Doe v. Gipson, 2023 WL 9107728, at *2 (W.D. Tex.

Dec. 7, 2023); Nerium Skincare, Inc. v. Nerium Int’l, LLC, 2017 WL 7052281,

at *4 (N.D. Tex. May 12, 2017).

      The decision to grant a motion for reconsideration under Rule 54(b)

“rests within the discretion of the court.” Brown, 2011 WL 1562567, at *2.

Unlike motions seeking reconsideration of a final judgment, which require the

movant to show “a manifest error of law of fact,” “newly discovered evidence,”

or “an intervening change in the controlling law,” Schiller v. Physicians Res.

Grp. Inc., 342 F.3d 563, 567 (5th Cir. 2003), Rule 54(b) allows a district court

“to reconsider and reverse its decision for any reason it deems sufficient, even

in the absence of new evidence or an intervening change in or clarification of

the substantive law.” Austin v. Kroger Tex., L.P., 864 F.3d 326, 336 (5th Cir.

2017) (collecting cases).

                                  ARGUMENT

I.    EXPANSION OF THIS COURT’S ORDER IS APPROPRIATE
      UNDER CONTROLLING PRECEDENT.

      The APA authorizes district courts to “hold unlawful and set aside

agency action.” 5 U.S.C. § 706. In moving for preliminary relief, plaintiffs also




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invoked Section 705 of the APA, which authorizes a district court to “postpone

the effective date of an agency action.” Id. § 705.

      Construing the remedial provisions of the APA, the Fifth Circuit has

held that “the scope of relief” for successful APA claims “is not party-

restricted.” Career Colleges, 98 F.4th at 255. That conclusion follows from the

statute’s express textual authorization for a court to “set aside” or “invalidate”

agency action—when an agency rule is deemed “invalid,” “it may not be

applied to anyone.” Id. (quoting Mila Sohoni, The Power to Vacate A Rule,

88 Geo. Wash. L. Rev. 1121, 1173 (2020)); see In re Clarke, 94 F.4th 502, 512

(5th Cir. 2024) (“Should plaintiffs prevail on their APA challenge, this court

must ‘set aside’ CFTC’s ultra vires rescission action, with nationwide effect.”).

To align relief under Section 705 with Section 706, an order “postpon[ing] the

effective date” under Section 705 likewise need not be party-restricted. Career

Colleges, 98 F.4th at 255; see Alliance for Hippocratic Medicine v. FDA, 78

F.4th 210, 254 (5th Cir. 2023), rev’d on other grounds, 602 U.S. 367 (2024)

(explaining that “a stay is a temporary form of vacatur” that “effectively

rescinds the unlawful agency action”).

      Applying these principles, the Fifth Circuit in Career Colleges rejected

the same argument the Commission made here—that preliminary relief in an


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APA suit must be limited “to the named parties” in the suit. Id. at 255. And

the court did so despite the government’s contention (repeated in this case)

that “[p]rinciples of equity” require a narrower remedy. U.S. Br. 52-53, Career

Colleges, supra, 2023 WL 6543249, at *52-53 (citing Califano v. Yamasaki,

442 U.S. 682, 702 (1979)); see FTC Br. 40 (same).

      Career Colleges thus supports an expansion of the remedy here. This

Court found that plaintiffs were likely to succeed in their APA challenges and

that relief was appropriate under Section 705. See Order 32. Given that

holding, there is no basis for restricting the relief to only the named parties.

Notably, another district court considering this very issue determined that

nationwide relief would be necessary if plaintiff-intervenors’ claims

challenging the Noncompete Rule were successful. See Op. at 8, Chamber of

Commerce v. Fed. Trade Comm’n, No. 6:24-cv-148 (E.D. Tex. May 3, 2024)

(holding that any “permanent or preliminary relief” obtained by the plaintiffs

challenging the Noncompete Rule would not be “limited to the named plaintiff

but, instead, [would] vacat[e] or postpon[e] a rule as to all whom it would

otherwise bind”).

      Although the Court’s Order suggests otherwise (at 30), the Fifth

Circuit’s decision in Braidwood does not depart from this principle. In that


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case, the Fifth Circuit reaffirmed that the APA “provides that a ‘reviewing

court shall’ set aside unlawful agency action” in an order that “has nationwide

effect” and “is not party-restricted,” and rejected the government’s argument

that a court was “require[d]” to “consider[] the various equities at stake before

determining whether a party is entitled to vacatur.” Braidwood Mgm’t, Inc.

v. Becerra, __ F.4th __ , 2024 WL 3079340, at *13-14 (5th Cir. June 21, 2024)

(citing Career Colleges, 98 F.4th 255) (footnotes and quotation marks omitted).

The Fifth Circuit merely held that those principles did not apply in Braidwood

because the plaintiffs there had not pursued an APA claim. See id. The same

is true of Madsen v. Women’s Health Center, 512 U.S. 753 (1994), also

referenced in the Court’s Order (at 31), as that case involved a challenge to a

state-court order under the First Amendment, not an APA challenge.

      This Court correctly held that the Commission violated the APA in

promulgating the Noncompete Rule and that plaintiffs are entitled to relief

under Section 705 of the APA. Because this Court has already recognized the

ongoing harms to plaintiff-intervenors’ members and expanded relief is

supported by both Supreme Court and Fifth Circuit precedent, plaintiff-

intervenors respectfully request the Court expand the scope of the

preliminary relief.


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II.   THE COURT’S PRELIMINARY RELIEF ORDER SHOULD
      APPLY TO PLAINTIFF-INTERVENORS’ MEMBERS.

      To provide full relief to plaintiff-intervenors in this case, however, this

Court need not decide the proper scope of relief under Section 705. Plaintiff-

intervenors respectfully request that this Court apply settled principles of

associational standing to extend preliminary relief to their members. It is well

established that associations are entitled to pursue claims on behalf of their

members and to obtain a remedy for those members when those claims are

successful. See Warth, 422 U.S. at 515; Association of Am. Physicians &

Surgeons, Inc. v. Texas Med. Bd., 627 F.3d 547, 551 (5th Cir. 2010) (AAPS).

Accordingly, courts regularly grant plaintiff-associations relief that extends at

least to their full membership. See, e.g., Career Colleges, 98 F.4th at 255; Nat’l

Rifle Ass’n of Am., Inc. v. Bureau of Alcohol, Tobacco, Firearms &

Explosives, 2024 WL 1349307, at *6 (N.D. Tex. Mar. 29, 2024) (enjoining

federal officials from enforcing a rule “against the NRA’s members”); Casa de

Maryland, Inc. v. Wolf, 486 F. Supp. 3d 928, 972 (D. Md. 2020) (providing

injunctive relief to “members of CASA and ASAP”). And in suits like this

one—where an association brings suit “solely as a representative of its

members,” rather than to prevent “injury to itself,” AAPS, 627 F.3d at 550—

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an injunction or stay protecting the association’s members is the only way to

afford the plaintiff-association any meaningful remedy.

      Plaintiff-intervenors have established associational standing in this case.

An association has standing to sue on behalf of its members when it seeks to

protect interests that “are germane to the organization’s purpose,” its

members “have standing to sue in their own right,” and “neither the claim

asserted nor the relief requested requires the participation of individual

members in the lawsuit.” Hunt v. Wash. State Apple Advert. Comm’n, 432

U.S. 333, 343 (1977). Each of those requirements is readily satisfied here.

      First, plaintiff-intervenors alleged they are “committed to protecting

the interests of [their] members [and] regularly advocate for reforms that

reduce . . . regulatory burdens.”    Compl. ¶ 34 (ECF No. 37).        And they

supported that allegation with detailed declarations about the purpose and

mission of each organization. See ECF No. 47, Ex. B, ¶¶ 3-4 (Texas Association

of Business); ECF No. 47, Ex. C, ¶¶ 3, 8 (Longview Chamber of Commerce);

ECF No. 47, Ex. C, ¶¶ 3-5 (Chamber of Commerce of the United States of

America); ECF No. 47, Ex. G, ¶¶ 3-4 (Business Roundtable).

      Second, plaintiff-intervenors demonstrated that their members will

suffer concrete harms as a result of the Noncompete Rule. See ECF No. 47,


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Ex. B, ¶¶ 6-8; id., Ex. C, ¶¶ 7-10; id., Ex. D, ¶¶ 7-12; id., Ex. G ¶¶ 6-11; see also

Ex. E ¶¶ 3, 9-12; id., Ex. F ¶¶ 3, 10-13 (declarations from two of plaintiff-

intervenor U.S. Chamber’s members describing the harms caused by the

Noncompete Rule). Accordingly, plaintiff-intervenors’ members would have

standing to sue in their own right. See FDA v. All. for Hippocratic Medicine,

602 U.S. 367, 382 (2024) (“Government regulations that require or forbid some

action by the plaintiff almost invariably satisfy both the injury in fact and

causation requirements.”).

        Third, under Fifth Circuit precedent, plaintiff-intervenors’ claims for

declaratory and injunctive relief do not require the participation of any

individual members. See Compl. ¶ 34 (ECF No. 37) (citing AAPS, 627 F.3d at

550). And the Commission has not disputed plaintiff-intervenors’ standing to

challenge the Noncompete Rule on behalf of their members. See Order 31

n.14.

        Because plaintiff-intervenors have established associational standing,

they are entitled to a remedy that prevents harm to their members. And this

Court has already explained that “compliance with the Rule would result in

financial injury” to businesses throughout the country—including plaintiff-

intervenors’ members. Order 26; see id. 25 (describing plaintiff-intervenors’


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evidence of harm). Indeed, the whole purpose of the Noncompete Rule was to

prohibit plaintiff-intervenors’ members from entering into noncompete

agreements, so they are the express target of the regulation.

      In declining to extend relief to plaintiff-intervenors’ members, the Court

stated that plaintiff-intervenors had not sufficiently briefed associational

standing. See Order 31. Plaintiff-intervenors had not briefed that issue before

now only because “nothing in the record alerted [plaintiff-intervenors] to the

possibility that their standing would be challenged.” Texas v. Nuclear Reg.

Comm’n, 78 F.4th 827 (5th Cir. 2023) (quoting American Libr. Ass’n v. Fed.

Trade Comm’n, 401 F.3d 489, 492 (D.C. Cir. 2005)). Moreover, as discussed

above, plaintiff-intervenors alleged associational standing in their complaint

and supported it with evidence necessary to obtain preliminary relief. See,

e.g., Speech First, Inc. v. Fenves, 979 F.3d 319, 329-331 (5th Cir. 2020) (holding

that an association established standing through declarations demonstrating

harm to members). Plaintiff-intervenors ask this Court to consider these

allegations and evidence of associational standing and to expand the scope of

preliminary relief.




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                               CONCLUSION

      For the foregoing reasons, plaintiffs respectfully request that the Court

reconsider and expand the scope of the preliminary relief granted in its July 3

Order.




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Dated: July 10, 2024                 Respectfully submitted,

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                   CERTIFICATE OF WORD COUNT

     This Brief In Support of Motion for Stay of Effective Date and

Preliminary Injunction complies with the Procedures for Cases Assigned to

District Judge Ada Brown and Standing Order, Rule II(A), because it contains

2,322 words.

                                               /s/ Robert L. Sayles
                                               Robert L. Sayles

                   CERTIFICATE OF CONFERENCE

     Pursuant to Local Rule 7.1(b), I hereby certify that on July 8, 2024,

counsel for plaintiff-intervenors conferred with Rachael L. Westmoreland and

other counsel for defendant regarding plaintiff-intervenors intention to file

this motion. Defendant’s counsel stated that Defendant is opposed to this

motion and the relief requested herein.

                                               /s/ Judson O. Littleton
                                               Judson O. Littleton

                      CERTIFICATE OF SERVICE

     I hereby certify that on July 10, 2024, I electronically transmitted the

attached document to the Clerk of the Court and all counsel of record using

the ECF System for filing and service in accordance with Local Rule 5.1.

                                               /s/ Robert L. Sayles
                                               Robert L. Sayles


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